Petition for Writ of Mandamus Denied and Opinion filed August 15, 2024.




                                      In The

                    Fourteenth Court of Appeals

                                NO. 14-24-00553-CR



                 IN RE MARCUS TYRONE GRANT, Relator


                          ORIGINAL PROCEEDING
                           WRIT OF MANDAMUS
                             506th District Court
                            Waller County, Texas
                    Trial Court Cause No. MG24-0444-JP1

                         MEMORANDUM OPINION

      On Wednesday, July 31, 2024, relator Marcus Tyrone Grant filed a petition
for writ of mandamus in this court. See Tex. Gov’t Code Ann. § 22.221; see also
Tex. R. App. P. 52. In the petition, relator asks this court to compel the Honorable
Gary W. Chaney, presiding judge of the 506th District Court of Waller County, to
rule on relator’s June 2024 motions “requesting recusal of Judge Chaney” and
requesting “self representation with hybrid counsel.”

      To be entitled to mandamus relief, a relator must show (1) the relator has no
adequate remedy at law for obtaining the relief sought; and (2) what the relator
seeks to compel involves a ministerial act rather than a discretionary act. In re
Flanigan, 578 S.W.3d 634, 635 (Tex. App.—Houston [14th Dist.] 2019, orig.
proceeding) (citing In re Powell, 516 S.W.3d 488, 494–95 (Tex. Crim. App. 2017)
(orig. proceeding)). A trial court has a ministerial duty to consider and rule on
motions properly filed and pending before it, and mandamus may issue to compel
the trial court to act. Flanigan, 578 S.W.3d at 635. “A trial court is required to rule
on a motion within a reasonable time after the motion has been submitted to the
court for a ruling or a ruling on the motion has been requested.” Id. at 636(quoting In re Foster, 503 S.W.3d 606, 607 (Tex. App.—Houston [14th Dist.]
2016, orig. proceeding)).
      As the party seeking relief, relator has the burden of providing this court
with a sufficient record to establish relator's right to mandamus relief. Flanigan,
578 S.W.3d at 636; see Tex. R. App. P. 52.7(a)(1) (relator must file with the
petition “a certified or sworn copy of every document that is material to the
relator's claim for relief and that was filed in any underlying proceeding.”); Tex. R.
App. P. 52.3(j) (relator must certify “that every factual statement in the petition is
supported by competent evidence included in the appendix or record.”)
      To be entitled to mandamus relief for a trial judge's failure to rule on a
motion within a reasonable time, the record must show both that the motion was

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filed and brought to the attention of the judge for a ruling. Id. To establish that the
motion was filed, relator must provide either a file stamped copy of the motion or
other proof that the motion was in fact filed and is pending before the trial court.
Id. Merely filing a motion with a court clerk does not show that the motion was
brought to the trial court's attention for a ruling because the clerk's knowledge is
not imputed to the trial court. In re Ramos, 598 S.W.3d 472, 473 (Tex. App.—
Houston [14th Dist.] 2020, orig. proceeding.)
      Relator is not entitled to mandamus relief because he has not provided this
court with any mandamus record. We deny relator’s petition for writ of mandamus.




                                        PER CURIAM

Panel consists of Justices Wise, Bourliot, and Wilson.
Do Not Publish — Tex. R. App. P. 47.2(b).




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